                                      Case: 16-14361                   Doc: 61           Filed: 06/03/19                Page: 1 of 14




1A
 /2009
 /2011
 ary
 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                        WESTERN DISTRICT OF OKLAHOMA


                In Re:                                                                          §
                                                                                                §
                LARRY J COFFMAN, SR.                                                            §           Case No. 16-14361-SAH
                                                                                                §
                                                              Debtor                            §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                 10/28/2016 . The undersigned trustee was appointed on 10/28/2016 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $               28,400.00

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                             533.93
                                                  Bank service fees                                                                   484.65
                                                  Other payments to creditors                                                           0.00
                                                  Non-estate funds paid to 3rd Parties                                                  0.00
                                                  Exemptions paid to the debtor                                                         0.00
                                                  Other payments to the debtor                                                          0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $               27,381.42

                 The remaining funds are available for distribution.


          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

              6. The deadline for filing non-governmental claims in this case was 05/04/2017 and the
      deadline for filing governmental claims was . All claims of each class which will receive a
      distribution have been examined and any objections to the allowance of claims have been
      resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
      made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 3,590.00 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 3,590.00 , for a total compensation of $ 3,590.00 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 131.43 , for total expenses of $ 131.43 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 05/07/2019                                     By:/s/LYLE R. NELSON, TRUSTEE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                                                                                                                                  Page:       1
                                                        Case: 16-14361              Doc: 61          Filed: 06/03/19            Page: 3 of 14
                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                    ASSET CASES
                                                                                                                                                                                                   Exhibit A
Case No:             16-14361                       SAH            Judge:        Sarah A. Hall                              Trustee Name:                      LYLE R. NELSON, TRUSTEE
Case Name:           LARRY J COFFMAN, SR.                                                                                   Date Filed (f) or Converted (c):   10/28/2016 (f)
                                                                                                                            341(a) Meeting Date:               12/06/2016
For Period Ending:   05/07/2019                                                                                             Claims Bar Date:                   05/04/2017


                                  1                                             2                            3                           4                          5                             6

                         Asset Description                                    Petition/                Est Net Value             Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                       Unscheduled            (Value Determined by             Abandoned                  Received by                Administered (FA)/
                                                                              Values                Trustee, Less Liens,            OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                        Exemptions,                                                                             Assets
                                                                                                      and Other Costs)

  1. 916 Ne 49Th Street                                                              70,000.00                       0.00                                                       0.00                        FA
     Oklahoma City Ok 73105-0000 Oklahoma
  2. 810 Ne 50Th Street                                                             241,500.00                       0.00                                                       0.00                        FA
     Oklahoma City Ok 73105-6602 Oklahoma
  3. 805 Ne 42Nd Street                                                             334,000.00                       0.00                                                       0.00                        FA
     Oklahoma City Ok 73105-0000 Oklahoma
  4. Land Only - No Mailing Address Oklahoma                                         27,821.00                       0.00                                                       0.00                        FA
  5. 2009 Toyota Highlander Mileage: 171,000                                         12,900.00                       0.00                                                       0.00                        FA
  6. General Household Goods                                                          1,000.00                       0.00                                                       0.00                        FA
  7. General Electronics                                                                  750.00                     0.00                                                       0.00                        FA
  8. One Leroy Neiman Print - Received Through Debtor's                               1,200.00                       0.00                                                       0.00                        FA
     Brother's
  9. Golf Clubs - Old Adams Set                                                           300.00                     0.00                                                       0.00                        FA
 10. 12Ga Shotgun                                                                         250.00                     0.00                                                       0.00                        FA
 11. General Clothing                                                                     400.00                     0.00                                                       0.00                        FA
 12. 3 Malimute Mixes And 2 Dashshounds                                                     0.00                     0.00                                                       0.00                        FA
 13. Arvest Bank                                                                          709.17                     0.00                                                       0.00                        FA
 14. Arvest Bank                                                                           53.78                     0.00                                                       0.00                        FA
 15. Ameritrade                                                                           150.00                     0.00                                                       0.00                        FA
 16. CofmanCo, LLC                                                                  565,000.00                     100.00                                               27,500.00                           FA

     Trustee value amount estimated for purposes of form 1 only.
     Link funds $27,500.00 to asset 16 see Motion Doc 36 also
     settle all assets 16, 17, 18, 19.
 17. Centerpointe Resources, Inc.                                                    90,000.00                     100.00                                                       0.00                        FA

     Trustee value amount estimated for purposes of form 1 only.
     Link funds $27,500.00 to asset 16 see Motion Doc 36 also
     settle all assets 16, 17, 18, 19.


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                                                          Case: 16-14361                Doc: 61         Filed: 06/03/19              Page: 4 of 14
                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              16-14361                         SAH            Judge:        Sarah A. Hall                                Trustee Name:                      LYLE R. NELSON, TRUSTEE
Case Name:            LARRY J COFFMAN, SR.                                                                                       Date Filed (f) or Converted (c):   10/28/2016 (f)
                                                                                                                                 341(a) Meeting Date:               12/06/2016
For Period Ending:    05/07/2019                                                                                                 Claims Bar Date:                   05/04/2017


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                 Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

 18. Sheperd Manor, Inc.                                                                 1,590.00                      100.00                                                        0.00                        FA

     Trustee value amount estimated for purposes of form 1 only.
     Link funds $27,500.00 to asset 16 see Motion Doc 36 also
     settle all assets 16, 17, 18, 19.
 19. Express Therapy Services, Inc.                                                      4,000.00                      100.00                                                        0.00                        FA

     Trustee value amount estimated for purposes of form 1 only.
     Link funds $27,500.00 to asset 16 see Motion Doc 36 also
     settle all assets 16, 17, 18, 19.
 20. Registered Nurse, Oklahoma                                                               0.00                        0.00                                                       0.00                        FA
 21. 2014 tax returns unfiled to date                                                    Unknown                          0.00                                                       0.00                        FA

     (scheduled unknown value)
 22. 2015 tax returns unfiled to date                                                    Unknown                          0.00                                                       0.00                        FA

     (scheduled unknown value)
 23. 2010 Toyota Corolla (u)                                                             7,500.00                      694.70                                                     900.00                         FA

     See Amendment filed 1/12/2017 Doc 20
     Lien $694.70


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $1,359,123.95                   $1,094.70                                                $28,400.00                        $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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                                                                                                                                            Page:   3
                                                           Case: 16-14361        Doc: 61         Filed: 06/03/19            Page: 5 of 14


                                                                                                                                            Exhibit A




Initial Projected Date of Final Report (TFR): 12/06/2018         Current Projected Date of Final Report (TFR): 12/31/2018




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                                                                                                                                                                                                    Page:           1
                                                            Case: 16-14361           Doc: 61           Filed: 06/03/19             Page: 6 of 14
                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 16-14361                                                                                               Trustee Name: LYLE R. NELSON, TRUSTEE                                     Exhibit B
      Case Name: LARRY J COFFMAN, SR.                                                                                        Bank Name: First National Bank - Vinita
                                                                                                                   Account Number/CD#: XXXXXX4872
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX5216                                                                                 Blanket Bond (per case limit): $8,354,000.00
For Period Ending: 05/07/2019                                                                              Separate Bond (if applicable):


       1                2                               3                                             4                                                     5                    6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
   07/14/17             23         A. Bryan Coffman                          purchase 2010 Toyota Corolla                           1229-000                    $900.00                                    $900.00
                                                                             vehicle
                                                                             check 2200
   09/11/17             16         Homehealth Home Health Inc                settlement check                                       1129-000                $27,500.00                                $28,400.00
                                                                             check 004073
   10/06/17                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $18.82          $28,381.18
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   11/07/17                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $30.13          $28,351.05
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/07/17                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $29.13          $28,321.92
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/08/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $30.07          $28,291.85
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   02/07/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $30.04          $28,261.81
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   03/07/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $27.11          $28,234.70
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   04/06/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $29.98          $28,204.72
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   05/03/18           10001        Luton & Co, PLLC                          Accountant Compensation                                3410-000                                         $521.25          $27,683.47
                                   PO Box 13120                              Order Allowing April 23, 2018
                                   Oklahoma City, OK 73113
   05/07/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $28.98          $27,654.49
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   06/07/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $29.49          $27,625.00
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   06/08/18           10002        International Sureties, LTD               Bond #016018042 Term 6/1/18                            2300-000                                          $12.68          $27,612.32
                                   701 Poydras St.                           to 6/1/19
                                   New Orleans, LA 70139

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                                                                                                                                                                                                   Page:           2
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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 16-14361                                                                                               Trustee Name: LYLE R. NELSON, TRUSTEE                                    Exhibit B
      Case Name: LARRY J COFFMAN, SR.                                                                                        Bank Name: First National Bank - Vinita
                                                                                                                    Account Number/CD#: XXXXXX4872
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX5216                                                                               Blanket Bond (per case limit): $8,354,000.00
For Period Ending: 05/07/2019                                                                              Separate Bond (if applicable):


       1                2                               3                                             4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   07/09/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                         $28.38          $27,583.94
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   08/07/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                         $29.29          $27,554.65
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   09/10/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                         $29.26          $27,525.39
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   10/05/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                         $28.29          $27,497.10
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   11/07/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                         $29.20          $27,467.90
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/07/18                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                         $28.23          $27,439.67
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/08/19                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                         $29.14          $27,410.53
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   02/07/19                        First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                         $29.11          $27,381.42
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)


                                                                                                              COLUMN TOTALS                                $28,400.00            $1,018.58
                                                                                                                    Less: Bank Transfers/CD's                    $0.00                $0.00
                                                                                                              Subtotal                                     $28,400.00            $1,018.58
                                                                                                                    Less: Payments to Debtors                    $0.00                $0.00
                                                                                                              Net                                          $28,400.00            $1,018.58




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                                                                                                                                                                    Page:     3
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                                                                                                                                                                     Exhibit B
                                                                                              TOTAL OF ALL ACCOUNTS
                                                                                                                                                NET             ACCOUNT
                                                                                                              NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                           XXXXXX4872 - Checking                                                  $28,400.00               $1,018.58            $27,381.42
                                                                                                                  $28,400.00               $1,018.58            $27,381.42

                                                                                                            (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                    transfers)            to debtors)
                                           Total Allocation Receipts:                            $0.00
                                           Total Net Deposits:                               $28,400.00
                                           Total Gross Receipts:                             $28,400.00




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                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 16-14361-SAH                                                                                                         Date: May 7, 2019
Debtor Name: LARRY J COFFMAN, SR.
Claims Bar Date: 5/4/2017


Code #     Creditor Name And Address          Claim Class       Notes                               Scheduled          Claimed            Allowed
           LYLE R. NELSON                     Administrative                                            $0.00         $3,590.00          $3,590.00
100        TWO LEADERSHIP SQUARE
2100       211 N. ROBINSON, STE. 1300
           OKLAHOMA CITY, OK 73102-
           7134

           LYLE R. NELSON                     Administrative                                            $0.00           $131.43            $131.43
100        TWO LEADERSHIP SQUARE
2200       211 N. ROBINSON, STE. 1300
           OKLAHOMA CITY, OK 73102-
           7134

           Elias Books Brown & Nelson P. C.   Administrative                                            $0.00         $8,208.75          $8,208.75
100        Two Leadership Square
3110       211 N. Robinson, Ste. 1300
           Oklahoma City, OK 73102


           David Brady                        Administrative                                            $0.00           $521.25            $521.25
100        Luton & Co PLLC
3410       PO Box 13120                                         Order Allowing April 23, 2018
           Oklahoma City, OK 73113


1P         OKLAHOMA TAX                       Priority                                                  $0.00         $6,022.59          $6,022.59
280        COMMISSION
5800       GENERAL COUNSEL'S OFFICE
           100 N. Broadway Ave., Suite 1500
           OKLAHOMA CITY, OK 73102

3P         OKLAHOMA TAX                       Priority                                                  $0.00         $8,890.56          $8,890.56
280        COMMISSION
5800       GENERAL COUNSEL'S OFFICE
           100 N. Broadway Ave., Suite 1500
           OKLAHOMA CITY, OK 73102

5          Internal Revenue Service           Priority                                                  $0.00      $130,643.31         $130,643.31
280        P O Box 7317
5800       Philadelphia PA 19101-7317




1U         OKLAHOMA TAX                       Unsecured                                                 $0.00           $255.15            $255.15
300        COMMISSION
7100       GENERAL COUNSEL'S OFFICE
           100 N. Broadway Ave., Suite 1500
           OKLAHOMA CITY, OK 73102

2          Capital One Bank (Usa), N.A.       Unsecured                                                 $0.00         $1,279.03          $1,279.03
300        PO Box 71083
7100       Charlotte, NC 28272-1083




                                                                            Page 1                              Printed: May 7, 2019




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                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 16-14361-SAH                                                                                                            Date: May 7, 2019
Debtor Name: LARRY J COFFMAN, SR.
Claims Bar Date: 5/4/2017


Code #     Creditor Name And Address          Claim Class        Notes                                 Scheduled          Claimed             Allowed
3U         OKLAHOMA TAX                       Unsecured                                                    $0.00          $570.00             $570.00
300        COMMISSION
7100       GENERAL COUNSEL'S OFFICE
           100 N. Broadway Ave., Suite 1500
           OKLAHOMA CITY, OK 73102

4          Toyota Motor Credit Corporation    Unsecured                                                    $0.00           $694.70            $694.70
300        c/o Becket and Lee LLP
7100       PO Box 3001
           Malvern, PA 19355-0701


5U         Internal Revenue Service           Unsecured                                                    $0.00      $173,452.48         $173,452.48
300        P O Box 7317
7100       Philadelphia PA 19101-7317




6          Hometown Home Health               Unsecured                                                    $0.00        $16,079.09         $16,079.09
300        2200 N.W. 50Th, Ste. 220
7100       Oklahoma City, Ok 73112




7          Usdol Fbo Centerpointe Resources   Unsecured                                                    $0.00        $78,811.00         $78,811.00
300        401K, Ps & Bs
7100       Usdol, Ebsa, Attn. Investigator
           Carlos Velez
           525 S. Griffin St., Room 900
           Dallas, Tx 75202
1S         OKLAHOMA TAX                       Secured                                                      $0.00        $15,891.94         $15,891.94
400        COMMISSION
4110       GENERAL COUNSEL'S OFFICE
           100 N. Broadway Ave., Suite 1500
           OKLAHOMA CITY, OK 73102

5          Internal Revenue Service           Secured                                                      $0.00        $27,821.00         $27,821.00
400        P O Box 7317
4110       Philadelphia PA 19101-7317




           Case Totals                                                                                     $0.00      $472,862.28         $472,862.28
              Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




                                                                               Page 2                              Printed: May 7, 2019




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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                          Exhibit D

     Case No.: 16-14361-SAH
     Case Name: LARRY J COFFMAN, SR.
     Trustee Name: LYLE R. NELSON, TRUSTEE
                         Balance on hand                                               $                27,381.42

               Claims of secured creditors will be paid as follows:

                                                              Allowed          Interim
                                                              Amount of        Payment to           Proposed
      Claim No. Claimant                       Claim Asserted Claim            Date                 Payment
                      OKLAHOMA TAX
      1S              COMMISSION   $                15,891.94 $     15,891.94 $             0.00 $             0.00
                      Internal Revenue
      5               Service                 $     27,821.00 $     27,821.00 $             0.00 $             0.00
                 Total to be paid to secured creditors                                 $                       0.00
                 Remaining Balance                                                     $                27,381.42


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                           Interim Payments Proposed
                         Reason/Applicant                Total Requested   to Date          Payment
      Trustee Fees: LYLE R. NELSON                       $        3,590.00 $               0.00 $        3,590.00
      Trustee Expenses: LYLE R. NELSON                   $         131.43 $                0.00 $          131.43
      Attorney for Trustee Fees: Elias Books
      Brown & Nelson P. C.                               $        8,208.75 $               0.00 $        8,208.75
      Accountant for Trustee Fees: David Brady           $         521.25 $           521.25 $                 0.00
                 Total to be paid for chapter 7 administrative expenses                $                11,930.18
                 Remaining Balance                                                     $                15,451.24




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               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                               NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 145,556.46 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                          Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                        of Claim            to Date          Payment
                          OKLAHOMA TAX
     1P                   COMMISSION                      $      6,022.59 $              0.00 $           639.32
                          OKLAHOMA TAX
     3P                   COMMISSION                      $      8,890.56 $              0.00 $           943.76
     5                    Internal Revenue Service        $    130,643.31 $              0.00 $       13,868.16
                 Total to be paid to priority creditors                                 $             15,451.24
                 Remaining Balance                                                      $                    0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 271,141.45 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                          Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                        of Claim            to Date          Payment
                          OKLAHOMA TAX
     1U                   COMMISSION                      $        255.15 $              0.00 $              0.00




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                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
                          Capital One Bank (Usa),
     2                    N.A.                       $         1,279.03 $              0.00 $               0.00
                          OKLAHOMA TAX
     3U                   COMMISSION                 $           570.00 $              0.00 $               0.00
                          Toyota Motor Credit
     4                    Corporation                $           694.70 $              0.00 $               0.00
     5U                   Internal Revenue Service   $       173,452.48 $              0.00 $               0.00
     6                    Hometown Home Health       $        16,079.09 $              0.00 $               0.00
                          Usdol Fbo Centerpointe
     7                    Resources 401K, Ps & Bs    $        78,811.00 $              0.00 $               0.00
                 Total to be paid to timely general unsecured creditors               $                     0.00
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:




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                                                      NONE




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